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                                      RETURN OF SERVICE
                                 UNITED STATES DISTRICT COURT
                                      Middle District of Florida
 Case Number: 6:24-CV-02333-
 PGB-LHP
 Plaintiff: TAVIA WAGNER
 vs.
 Defendant: MILAN'S F & K INVESTMENTS, LLC, and PARVA
 COLOMBIAN BAKERY & RESTAURANT, LLC, et al.
 For:
 Anthony Litsch III
 LITSCH LAW OFFICE
 1368 Turnbull Bay Road
 Suite 303
 New Smyrna Beach, FL 32168
 Received by Anthony Ko on the 14th day of January, 2025 at 11:28 pm to be served on PARVA
 COLOMBIAN BAKERY & RESTAURANT LLC, c/o Fabian F. Diaz - RA, 220 W. LAKE MARY BLVD.,
 SANFORD, FL 32773.

 I, Anthony Ko, do hereby affirm that on the 30th day of January, 2025 at 11:23 am, I:
 Served the within named business entity by delivering theSUMMONS IN A CIVIL ACTION;
 SCHEDULING ORDER; COMPLAINT to: GENA TORREGLOSA as MANAGER, an employee of the
 Registered Agent after confirming the Registered Agent was not present or any other individual
 designated to serve as the Registered Agent, pursuant to the requirements of Fla. Stat. 48.091 and
 48.062, and informed said person of the contents therein, at 220 W. LAKE MARY BLVD., SANFORD, FL
 32773.

 Additional Information pertaining to this Service:
 1/30/2025 11:23 am Attempted service at c/o Fabian F. Diaz - RA 220 W. LAKE MARY BLVD.,
 SANFORD, FL 32773, spoke wih Gena Torreglosa who advised the Registered Agent is not present.

 I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
 Server, in good standing, in the judicial circuit in which the process was served.



                                                                           Anthony Ko
                                                                           CPS 18-0029

                                                                           Central FL Process LLC
                                                                           P.O. Box 348
                                                                           Christmas, FL 32709
                                                                           (407) 853-0566

                                                                           Our Job Serial Number: CTR-2025000033




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